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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-435V
                                      (not to be published)

    ************************* *
                                *
    DANTE GUIDO,                *
                                *
                                *                          Filed: August 17, 2020
                    Petitioner, *
                                *
    v.                          *
                                *                          Decision by Stipulation; Damages;
                                *                          Diphtheria-Tetanus-Acellular Pertussis
    SECRETARY OF HEALTH AND     *                          (“DTaP”) Vaccine; Meningococcal
    HUMAN SERVICES,             *                          Vaccine (“MCV”); Idiopathic
                                *
                                *                          Thrombocytopenia Purpura (“ITP”).
                    Respondent. *
                                *
    ************************* *

Jeffrey Golvash, Golvash & Epstein, LLC, Pittsburgh, PA, for Petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

        On November 14, 2017, Jason Guido, parent and natural guardian of Dante Guido
(“Petitioner”), filed a petition on behalf of Dante Guido2, seeking compensation under the National
Vaccine Injury Compensation Program (“the Vaccine Program”).3 Pet., ECF No. 1. The Petition
alleges Petitioner suffered from idiopathic thrombocytopenia purpura (“ITP”) related to his receipt

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 Jason Guido filed a Motion to Amend Caption on June 30, 2020 (ECF No. 63). I granted that motion on
July 13, 2020 (ECF No. 64).
3
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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of the Diphtheria-Tetanus-Acellular Pertussis (“DTaP”) and meningococcal vaccines (“MCV”) he
received on January 2, 2014. See Stipulation ¶ 2, 4, dated August 12, 2020 (ECF No. 69); see also
Petition.

       Respondent denies “that the DTaP and/or MCV immunizations [P]etitioner received
caused his alleged ITP, or any other injury.” See Stipulation ¶ 6. Nonetheless, both parties, while
maintaining their above-stated positions, agreed in a stipulation filed August 12, 2020 that the
issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a lump sum of $11,000.00 in the form of a check payable to [P]etitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.4

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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